     Case
      Case4:19-cv-01097
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                                                                                       United States District Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                                                                                            April 08, 2019
                            UNITED STATES DISTRICT COURT
                                                                                         David J. Bradley, Clerk
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

CONN APPLIANCES, INC.,                            §
                                                  §
       Plaintiff,                                 §
                                                  §
v.                                                §           CIVIL ACTION H-19-1097
                                                  §
VERONICA DAVIS,                                   §
                                                  §
       Defendant.                                 §

                                              ORDER

       Plaintiff’s motion to stay (Dkt. 7) is GRANTED. It is therefore ORDERED that this cause

of action is STAYED and administratively (statistically) closed. The parties may move to reinstate

the case on the court's active docket at such time in the future as deemed appropriate. A copy of this

order shall be attached as an exhibit to any motion to reinstate.



       Signed at Houston, Texas on April 8, 2019.



                                               ___________________________________
                                                           Gray H. Miller
                                                     United States District Judge
